Case: 5:24-cv-00249-DCR Doc #: 18-3 Filed: 10/16/24 Page: 1 of 1 - Page ID#: 576




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

  RICHARD BARTON, et al.,

         Plaintiffs,

   v.                                              No. 5:24-cv-00249-DCR

   U.S. DEPARTMENT OF LABOR, et al.,

          Defendants.




                  [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE


        The motion for admission to practice pro hac vice in the above-captioned matter

is GRANTED. The applicant, T. Elliot Gaiser, is permitted to argue or try this case in whole or

in part as counsel for the State of Ohio. It is

        SO ORDERED.



________________                                   ___________________________________
Date                                               United States District Judge
